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1     that.
2               Did you describe for Mr. Henry anything
3     else that you recalled with respect to how the
4     5,000 barrel estimate was arrived at?
5          A.   Yes.    There was -- there was a really --
6     I have a vivid recollection of a discussion when
7     Doug Suttles described to us what the folks in --
8     a woman in particular -- and I don't know her
9     name -- in Houston had given him an estimate of
10    flow rate, and Doug Suttles had prepared an easel
11    and he had written on the bottom of the easel a
12    range and had his description of how he described
13    that, and I vividly remember the range.            And I
14    remember right where he was standing, and I
15    remember Charlie standing to my right, in the
16    doorway of BP's offices.
17         Q.   Okay.    What was the range that you recall
18    Mr. Suttles having provided you or put on this
19    easel?
20         A.   1,000 to 5,000 with 2500 in the middle
21    and a line.
22         Q.   Okay.    And when do you recall Mr. Suttles
23    giving you that information?
24         A.   The afternoon of the day that we
25    announced going to 5,000.         So it would be


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1     approximately the 29th of April, I think.
2          Q.   The 28th, perhaps?
3          A.   It could be the 28th.
4          Q.   Okay.    The announcement, I'll represent
5     to you, was made on the 28th.
6          A.   Then it would be the 28th.
7          Q.   Okay.    And we'll get into a lot more
8     detail about the announcement.
9          A.   (Nodding.)
10         Q.   What -- you said Mr. Henry had a
11    different recollection, or a slightly different
12    recollection than you did?
13         A.   Yes.
14         Q.   What was Mr. Henry's recollection that he
15    communicated to you as you were preparing to
16    testify as a Corporate Representative?
17         A.   He doesn't remember standing in -- being
18    in the doorway during that discussion.
19         Q.   Does he recall you having a discussion
20    with him -- strike that.
21              Did he indicate whether he recalled you
22    having a discussion with him and Mr. Suttles
23    prior to the announcement of the 5,000 barrel
24    estimate?
25         A.   I'm sorry.     Could you repeat the


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 1         Q.   -- in amongst everything else?          You're
 2    doing a much better job than me.
 3              And, Admiral, along those lines, would
 4    you agree that in your role as the FOSC and your
 5    role with the U.S. -- United States Government,
 6    you were the reviewers, but not the creators of
 7    the Source Control Plans?
 8         A.   Yes.
 9         Q.   Thank you.     Admiral, ma'am, are you
10    familiar with the principle that the polluter
11    pays and the polluter cleans up, or insert
12    "Responsible Party"?
13         A.   Yes.
14         Q.   Okay.    And then also is it your
15    understanding that.        Ultimately, certain
16    environmental penalty calculations for this
17    disaster would be based on the barrels per day of
18    oil released into the Gulf of Mexico?
19         A.   Yes.
20         Q.   The more barrels per day released would
21    then result in higher penalties for the
22    Responsible Party?
23         A.   Yes.
24         Q.   Admiral, was the Coast Guard aware and
25    you, as the FOSC, aware that if the flow rate was


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 1    over 15,000 barrels per day, that the top kill
 2    method would not work?
 3                      MR. FLYNN:    Object as to form.
 4         A.    No.
 5         Q.    (By Ms. Patty) Admiral, this morning you
 6    testified that your new/current position was
 7    created based on "Lessons Learned" from the
 8    DEEPWATER HORIZON disaster?
 9         A.    Yes.
10         Q.    Would you be willing to share the lessons
11    that were learned by the Federal Government with
12    regard to the BP DEEPWATER HORIZON disaster?
13                      MR. FLYNN:    Ob -- objection as to
14    form.     There -- there's been hundreds and
15    hundreds of pages written about this.
16         Q.    (By Ms. Patty) If you could just
17    summarize.
18         A.    It would take me more than -- time than
19    anyone in this room has to summarize the "Lessons
20    Learned."     In general terms, the position was
21    created to institutionalize and apply the
22    "Lessons Learned" from the DEEPWATER HORIZON, and
23    there are just all sorts of information out there
24    that can provide you with some background on, you
25    know, what we will take forward.


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1     if the -- if the method won't work with a flow
2     rate of X, and the flow rate is X plus, you know,
3     15,000 barrels or something like that, you might
4     want to -- not want to try that particular
5     "ser" -- Source Control method, correct?
6                      MR. FLYNN:     Objection as to form.
7          A.   You would want to know all the details
8     you could, going into Source Control.
9          Q.   (By Mr. Li) Okay.       To control the risks?
10         A.   To manage the risks, yes.
11         Q.   And -- and to prevent things like a
12    subsea blowout?
13         A.   Yes.
14         Q.   To choose the meth -- methods that would
15    be most likely to succeed, correct?
16         A.   Yes.
17         Q.   Understanding that there's no guarantee
18    that -- that any particular method will succeed,
19    you -- you do want to choose the methods that
20    will most likely succeed, correct?
21         A.   Yes.
22         Q.   And Source -- strike that.
23              And the flow rate, you want to know as
24    close and most accurate of an estimate as you can
25    about the flow rate, in the process of choosing


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1     what Source Control methods you want to use?
2                      MS. KARIS:     Objection, form.
3          A.   You want to know as accurate as possible
4     the flow rate, in executing Source Control
5     operations.
6          Q.   (By Mr. Li) Thank you.
7               And as the Federal On-Scene Coordinator,
8     did you expect BP to use its best estimates of
9     flow rate when making Source Control decisions?
10         A.   Yes.
11         Q.   And did you expect that BP would do
12    everything in its power to calculate an accurate
13    flow rate, so it could make good Source Control
14    decisions?
15         A.   Yes.
16         Q.   And as the Federal On-Scene Coordinator,
17    did you expect that BP would keep you appraised
18    of its best estimates of flow rate?
19         A.   Yes.
20         Q.   And did you -- did you expect that BP
21    would keep you apprised of all of its modeling
22    for flow rate?
23                     MS. KARIS:     Object to the form.
24         A.   Yes.
25         Q.   (By Mr. Li) I'd -- I'd like to turn for a


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 1         Q.   When you received this letter from
 2    Mr. Suttles, did you believe that he was
 3    providing you a complete answer and not omitting
 4    any material information?
 5         A.   Yes.
 6         Q.   Now, because you did not have all those
 7    datapoints that I described, reservoir
 8    permeability, et cetera, you, at least at this
 9    point, and this is on May 10th, 2010, were not in
10    a position to verify all of the -- the data that
11    he was providing to you; is that correct?
12                     MS. KARIS:     Objection, form.
13                     MS. GREENWALD:      Objection, form.
14         A.   Yes.
15         Q.   (By Mr. Li) So at this point, while you
16    needed to trust Mr. Suttles, you would have to
17    rely on the Flow Rate Technical Group later on to
18    verify, correct?
19         A.   Yes.
20         Q.   Now, one more point from this letter,
21    you'll see right after the theoretical downside
22    phrase, it says this 55,000 barrels per day
23    estimate "...also assumes the flow is through the
24    annular space and that there is a complete
25    failure of the blow-out-preventer."


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 1               (Discussion off the record.)
 2         Q.    (By Mr. Li) Now, the annular space is --
 3    in a well is different than the production
 4    casing, correct?
 5         A.    Yes.
 6         Q.    Did BP, in this letter, share with you
 7    flow estimations through the casing?
 8         A.    Not in this letter.
 9         Q.    Now, if you could look at the back page,
10    which is the graph, and you'll see at the top it
11    says:     "Macondo Reservoir Model, CONTAINS
12    PROPRIETARY INFORMATION CONFIDENTIAL TREATMENT
13    REQUESTED" et cetera.        I get that right?
14         A.    Yes.
15         Q.    Did you understand this to be a graphical
16    representation of what the worst-case model was
17    and what the most likely model was?
18         A.    Yes.
19         Q.    And did you understand this to be a
20    representation by Mr. Suttles of what he and BP
21    believed were the worst-case model -- was the
22    worst-case model?
23         A.    Yes.
24         Q.    And did you understand this to be a
25    representation by Mr. Suttles and BP as what --


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 1    as to what they believed the most likely model
 2    was on May 10th, 2010?
 3         A.   Yes.
 4         Q.   Now, you've seen this a number of times,
 5    but the red line indicating the worst-case model
 6    shows a line that starts at about 55,000 barrels
 7    per day, and ends at approximately 42, 43,000
 8    barrels a day, 145 days later, correct?
 9         A.   Yes.
10         Q.   And in the little red box underneath
11    "Worst case model," this graph represents to you,
12    does it not, that this model is based on actual
13    reservoir conditions?
14         A.   Yes.
15         Q.   Now if you look at the blue line,
16    above -- below the box that says "Most Likely
17    Model," that blue line is located at
18    approximately 5,000 barrels a day, correct?
19         A.   Yes.
20         Q.   And this is -- also purports to be based
21    on actual reservoir conditions?
22         A.   Yes.
23         Q.   Okay.    Did anybody at BP in this
24    timeframe tell you to be very cautious about
25    standing behind a 5,000 barrel a day figure?


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 1         A.   No.
 2         Q.   And, in fact, at this -- in this
 3    timeframe, which is the May 10th, 2010 timeframe,
 4    BP, through Doug Suttles, was representing to the
 5    United States Government that the most likely
 6    model predicted that the flow would be 5,000
 7    barrels a day, correct?
 8                     MS. KARIS:    Object to the form.
 9         A.   Yes.
10         Q.   (By Mr. Li) Based on actual well
11    conditions, correct?
12                     MS. KARIS:    Object to form.
13         A.   Yes.
14         Q.   (By Mr. Li) If you could turn to Tab 24.
15              (Discussion off the record.)
16                     MR. LI:   Yeah.
17         Q.   (By Mr. Li) So this is an E-mail from --
18    it's an E-mail string, but I'd like you to focus
19    on the bottom half of the E-mail string, Admiral,
20    from Mike Mason to Andy Inglis dated May 15th.
21    Do you have that in front of you?
22         A.   Yes.
23         Q.   Okay.    Do you know who Andy Inglis is?
24         A.   Yes.
25         Q.   Do you know him to be an Executive at BP?


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 1         A.   "Bopd."
 2         Q.   Okay.    And did Mr. Suttles share with you
 3    that its contractors were suggesting that the --
 4    that it could not be ruled out that the flow out
 5    at the seabed was on the order of 40,000 oil --
 6    barrels of oil per day?
 7         A.   No.
 8         Q.   Admiral, with respect to that May 10th
 9    letter from Mr. Suttles to you, do you have any
10    idea where -- how BP generated the information to
11    give you those estimates?
12         A.   No.
13         Q.   Would it surprise you that British
14    Petroleum's Corporate Representative, Adam
15    Ballard, testified that between April 28th and
16    until the capping stack was put on, BP never
17    estimated the flow rate using reservoir modeling?
18                     MS. KARIS:    Object to the form.
19         A.   It would surprise me, yes.
20         Q.   (By Mr. Li) And that's because we've just
21    walked through a number of documents that show,
22    or at least purport to show, reservoir modeling,
23    correct?
24         A.   Yes.
25         Q.   Including the May 10th letter that


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 1         Q.   (By Mr. Li) Fair to say that those other
 2    lines on these charts were edited out of your
 3    letter from Mr. Suttles to you on May 10th, 2010?
 4                     MS. KARIS:    Object to the form.
 5         A.   No, I can't answer that.
 6         Q.   (By Mr. Li) Okay.       Would you have
 7    expected that BP would not edit out its various
 8    flow rate estimates?
 9                     MS. KARIS:    Objection, form.
10         A.   From the letter they provided me --
11         Q.   (By Mr. Li) Yes.
12         A.   -- I would not expect them to edit out.
13         Q.   You would want everything from BP,
14    wouldn't you?
15         A.   Yes.
16         Q.   You would want all of their modeling,
17    correct?
18         A.   Yes.
19         Q.   You would not want them to edit freely,
20    would you?
21         A.   No.
22                     MR. LI:   I think this is a good
23    place to break.
24                     THE VIDEOGRAPHER:      The time is
25    2:46 p.m.     We're off the record.


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 1    benefits and all of the various issues relating
 2    to the top kill operation, correct?
 3         A.   I can just -- we had a Team in Houston,
 4    and we had a Team in Robert, and we actually
 5    positioned Admiral Cook in Houston as the Lead
 6    Representative for the Coast Guard during top
 7    kill, and I had Pat Little with me in Robert, and
 8    MMS had folks, and Department of En -- Energy had
 9    folks.
10         Q.   And that was to make sure that the
11    Government could provide sufficient oversight to
12    the top kill operation, correct?
13         A.   That's correct.
14         Q.   And that this top kill operation was
15    essentially being run by BP, correct?
16         A.   Yes.
17         Q.   And it was important that you get full
18    and complete information from BP so that you
19    could serve your oversight function, correct?
20         A.   Yes.
21         Q.   And that would be one of the reasons why
22    you or Admiral Allen, the NIC, sent Admiral Cook
23    to Houston, correct?
24         A.   Yes.
25         Q.   To ensure that the flow of information


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 1    between BP was responsible for the top kill
 2    operation and the Government was full and
 3    complete, correct?
 4         A.   Yes.
 5         Q.   Now, did -- were there problems in
 6    getting full and complete cooperation with BP
 7    prior to sending Admiral Cook?
 8         A.   Can you -- can you specify what you mean
 9    by that?
10         Q.   Were there times where BP was not --
11    other than the situations that we've gone through
12    right now with all the documents they didn't
13    share with you, were there other instances where
14    BP wasn't sharing information with you?
15                     MS. KARIS:    Object to form.
16         A.   Not to my knowledge.
17         Q.   (By Mr. Li) Okay.       Now, let's take a look
18    at Exhibit 9132.      This is Tab 30.
19    Admiral Landry, this is an E-mail from Kate Baker
20    to a number of folks.        And if you could just turn
21    to the second page, and I'm just going to focus
22    you on one point.
23              So the title is "Summary points..." for
24    "Kill the Well on Paper Discussion, 18 May,
25    2010."


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 1              Correct?
 2         A.   That's what the document says, yes.
 3         Q.   Okay.    If you could read the third bullet
 4    point down, which is a Summary Point.
 5         A.   "Modeling indicates that a dynamic kill
 6    cannot be successfully executed if the oil flow
 7    rate is 15000 STBpd."
 8         Q.   Standard barrels of oil per day?
 9              Now, were you ever told by any person at
10    BP -- stock tank, sorry.        Stock tank barrels of
11    oil per day.
12              Were you ever told by anybody at BP that
13    modeling indicated that a dynamic kill could not
14    successfully be executed if the oil rate is
15    15,000 stock tank barrels per day?
16                     MS. KARIS:    Objection, form.
17         A.   I don't recall anyone from BP telling me
18    that -- me that.
19         Q.   (By Mr. Li) And, in fact -- strike that.
20              (Discussion off the record.)
21         Q.   (By Mr. Li) Okay.       Ultimately, the -- the
22    top kill procedure did not succeed, right?
23         A.   Yes.
24         Q.   And you all made a nu -- number of
25    efforts to pump material down the well, correct?


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 1         A.   Point No. 3:     "Tony Hayward said he will
 2    await your call."
 3         Q.   Yeah.    And then Tony Hayward says he'll
 4    await your call.      And then going down, "The way
 5    ahead...." 1, 2, and 3?
 6         A.   "The way ahead....
 7              "Terminate top kill.       Analysis shows
 8    that" the "flow path exists (probably thru a
 9    rupture disk in the casing) into the formation.
10    Additional pumping could damage the casing
11    further and allow for hydrocarbon to flow into
12    the formation... A scenario which could lead to
13    broaching."
14         Q.   "2.   Shift to containment."
15         A.   "Shift to containment.        LMRP cap still
16    deemed best interim solution."
17         Q.   And then 3?
18         A.   "BOP on BOP not advisable, now or in the
19    future, because of rupture disk issue..."
20         Q.   And we can -- we can just stop there.
21    Who -- who provided the information and the data
22    relating to all of these various conclusions?
23    It's BP, isn't it?
24                    MS. KARIS:     Objection, form.
25         A.   Kevin Cook generated this E-mail.


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 1         Q.   (By Mr. Li) Right.       But all the data --
 2         A.   The "Subject" is the "BP Briefing On" the
 3    "Way Forward," so that would -- that would mean
 4    that Kevin was getting this information from the
 5    BP Representatives.
 6         Q.   Okay.    And at this point, those BP
 7    Representatives were suggesting to Admiral Cook,
 8    and others, and then that all was forwarded on to
 9    you, that the "BOP on BOP option" was "not
10    advisable, now or in the future..."           Correct?
11                    MS. KARIS:     Objection, form.
12         A.   According to this document.
13         Q.   (By Mr. Li) I'm going to ask you to look
14    at Tab 45, which is being marked as Exhibit --
15              (Exhibit No. 9634 marked.)
16                    MS. SARGENT:      9634.
17         Q.   (By Mr. Li) This is a letter from the
18    Secretary of Homeland Security, Janet Napolitano,
19    and the Administrator of the Environmental
20    Protection Agency, Lisa P. Jackson, to Tony
21    Hayward, Group Chief Executive of BP, dated May
22    20th, 2010.
23              Admiral, at the second -- the very first
24    paragraph, the second sentence it says:            "In
25    responding to this oil spill, it is critical that


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